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NOT FOR PUBLICATION



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




                                                :
 UNITED STATES of America,                      :
                                                :
                                                :       ORDER
                        v.                      :
                                                :       Crim. No. 11-315 (WHW)
 Mitchell KURLANDER and Alan                    :
 ABESHAUS,                                      :
                                                :
                                Defendants.     :
                                                :
                                                :


Walls, Senior District Judge


       Before this Court are Defendants Mitchell Kurlander and Alan Abeshaus’s Motion to

Suppress Electronically Stored and Paper Documents and Records Seized on or about May 7,

2007 (“Motion to Suppress”) (ECF No. 23) and Defendant Alan Abeshaus’s Motion to Dismiss

the Indictment as Barred by the Statute of Limitations (“Motion to Dismiss”) (ECF No. 25),

joined by Defendant Kurlander (ECF No. 24). For the reasons set forth in the accompanying

Opinion:

       It is, on this 14th day of June, 2012:

       ORDERED that Defendants’ Motion to Suppress and Motion to Dismiss are DENIED.



                                                          s/ William H. Walls

                                                          United States Senior District Judge
